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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                 10/21/2020
 Ashu Shukla,

                                Plaintiff,
                                                            1:19-cv-10578 (AJN) (SDA)
                    -against-
                                                            ORDER
 Deloitte Consulting LLP,

                                Defendant.


STEWART D. AARON, United States Magistrate Judge:

         WHEREAS, the Court today entered a Protective Order in this case (ECF No. 132);

         IT IS HEREBY ORDERED that, no later than October 27, 2020, Plaintiff shall produce to

Defendant unredacted versions of any documents he previously produced with redactions,

subject to the terms of the Protective Order.

SO ORDERED.

Dated:          New York, New York
                October 21, 2020

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                                                    STEWART D. AARON
                                                    United States Magistrate Judge
